     Case 2:20-cv-02819-MWF-PJW Document 20 Filed 09/25/20 Page 1 of 1 Page ID #:88




 1                                                                           JS-6
 2

 3

 4                        UNITED STATES DISTRICT COURT
 5                      CENTRAL DISTRICT OF CALIFORNIA
 6

 7
      NICHOLAS GOERTEMILLER                  )        Case No.
      individually and on behalf of all others
                                             )
 8    similarly situated,                    )          2:20-cv-02819-MWF-PJW
                          Plaintiff,         )
 9                                           )        ORDER TO DISMISS WITH
            vs.                              )        PREJUDICE AS TO PLAINTIFF
10                                           )        AND WITHOUT PREJUDICE AS
      CREDIT COLLECTION SERVICES, )                   TO CLASS CLAIMS.
11    INC.dba Credit Collection Services;    )
      CCS Commercial, LLC; Customer          )
12    Contact Solutions, LLC; ClaimAssist, )
      LLC; First USA Financial, LLC. and )
13    DOES 1 through 10, inclusive, and each )
      of them,                               )
14                       Defendants.         )
15

16          IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
17    this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and
18    without prejudice as to the Putative Class alleged in the complaint, pursuant to
19    Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
20    costs and attorneys’ fees.
21

22
      Dated: September 25, 2020
23
                                                MICHAEL W. FITZGERALD
                                                United States District Judge
24

25

26

27

28




                                          Order to Dismiss - 1
